           Case 1:21-cr-00488-CRC Document 64 Filed 02/22/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )             Case No. 21-cr-488 (CRC)
                                          )
NOAH BACON,                               )
                                          )
      Defendant.                          )
_________________________________________ )


                                    VERDICT FORM


Count I:       Entering or Remaining in a Restricted Building or Grounds

      _______________                     ________________
      Guilty                              Not Guilty

Count II:      Disorderly or Disruptive Conduct in a Restricted Building or Grounds

      ________________                    ________________
      Guilty                              Not Guilty


Count III:     Entering or Remaining in the Gallery of Congress

      ________________                    ________________
      Guilty                              Not Guilty

Count IV:      Disorderly Conduct at the Grounds or in a Capitol Building

      _______________                     ________________
      Guilty                              Not Guilty

Count V:       Parading, Demonstrating, or Picketing in a Capitol Building

      ________________                     ________________
      Guilty                               Not Guilty



                                             1
         Case 1:21-cr-00488-CRC Document 64 Filed 02/22/23 Page 2 of 2




Count VI:    Obstruction of an Official Proceeding and Aiding and Abetting

      ____________                          ________________
      Guilty                                Not Guilty



Dated this _______ day of ________, 2023.


                                                  _________________________
                                                  FOREPERSON




                                              2
